972 F.2d 1334
    Venari (Anthony John Allen, Jr.)v.Domovich (Andy), Foster (Debbie, Sgt.), Riddle (Officer),Turner (Robert B.), Blaze (Joseph, Jr., I.), Taylor (R.),Gallentine, Thompson (James G.), Goad (David J.), Callithen(Harry S.), Raksyawski (John), Slavic (Lt.), Seiverling (Thomas W.)
    NO. 91-3924
    United States Court of Appeals,Third Circuit.
    July 21, 1992
    
      Appeal From:  W.D.Pa.,
      Bloch, J.
    
    
      1
      AFFIRMED.
    
    